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July 30, 2024

Re:      Chicken Soup for the Soul Entertainment, Inc. et al
         Case No. 24-11442 (TMH)
         Subject: Notice of Termination of Employment Upon Conversion to Chapter 7

To Whom it May Concern,

        Please take notice that I am the duly appointed and acting interim Chapter 7 Trustee (the
“Chapter 7 Trustee”) for the bankruptcy estates of Chicken Soup for the Soul Entertainment, Inc.
et al, Case No. 24-11442 (TMH), and its affiliated debtors (collectively, the “Debtors”) 1 which
are pending in the United States Bankruptcy Court for the District of Delaware. The Debtors’
bankruptcy cases were filed on June 28, 2024 (the “Petition Date”), seeking relief under Chapter
11 of the Bankruptcy Code (11 U.S.C. § 101 et seq.) and were subsequently converted on July 10,
2024 (the “Conversion Date”) to liquidation cases under Chapter 7 of the Bankruptcy Code. Upon
conversion to Chapter 7, the Bankruptcy Code does not permit the Chapter 7 Trustee to operate
the Debtors’ businesses. Accordingly, the Debtors ceased operating upon conversion to Chapter
7 and all employees were terminated by operation of law effective as of the Conversion Date.

       Please take further notice that with regard to the 401(k) plan in which the Debtors’
employees participated (the “Plan”), the Plan is not administered nor controlled by the Chapter 7
Trustee, but rather, is a separate trust which is not part of the Debtors’ bankruptcy estates. In
accordance with the terms of the Plan, the Plan continues to be separately administered by the non-


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  The Debtors in these chapter 7 cases, along with the case numbers and last four digits of each Debtors’
federal tax identification number (where applicable), are #24-11442, Chicken Soup for the Soul
Entertainment Inc.; (0811); #24-11443, 757 Film Acquisition LLC; (4300); #24-11444, Chicken Soup for
the Soul Studios, LLC; (9993); #24-11445, Chicken Soup for the Soul Television Group, LLC, (N/A); #24-
11446, Crackle Plus, LLC; (9379); #24-11447, CSS AVOD Inc.; (4038); #24-11448, CSSESIG, LLC;
(7150); #24-11449, Digital Media Enterprises LLC; N/A; #24-11450, Halcyon Studios, LLC; (3312); #24-
11451, Halcyon Television, LLC; (9873); #24-11452, Landmark Studio Group LLC; (3671); #24-11453,
Locomotive Global, Inc.; (2094); #24-11454, Pivotshare, Inc.; (2165); #24-11455, RB Second Merger Sub
LLC; (0754); #24-11456, Redbox Automated Retail, LLC; (0436); # 24-11458, Redbox Holdings, LLC;
(7338); #24-11460, Redwood Intermediate, LLC; (2733); #24-11461, Screen Media Ventures, LLC;
(2466); #24-11462, Screen Media Films, LLC; (N/A); #24-11463, TOFG LLC; (0508).




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